       Case 3:24-mj-01561-BLM Document 7 Filed 04/23/24 PageID.50 Page 1 of 2




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 3 Assistant United States Attorney

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 8
     Attorneys for Plaintiff
 9 UNITED STATES OF AMERICA

10
                         UNITED STATES DISTRICT COURT
11
                       SOUTHERN DISTRICT OF CALIFORNIA
12

13   UNITED STATES OF AMERICA,                 Case No.: 24-MJ-1561-BLM

14               Plaintiff,
                                               NOTICE OF APPEARANCE
15         v.

16   ANTON ANDREYEVICH
     IAGOUNOV,
17
                 Defendant.
18
19

20

21
           TO THE CLERK OF COURT AND ALL PARTIES OF RECORD
22
           I, the undersigned attorney, enter my appearance as lead counsel for the
23
     United States in the above-captioned case. I certify that I am admitted to
24
     practice in this court or authorized to practice under CivLR 83.3.c.3-4.
25
           The following government attorneys (who are admitted to practice in this
26
     court or authorized to practice under CivLR 83.3.c.3-4) are also associated with
27
     this case, should be listed as lead counsel for CM/ECF purposes, and should
28
      Case 3:24-mj-01561-BLM Document 7 Filed 04/23/24 PageID.51 Page 2 of 2




 1 receive all Notices of Electronic Filings relating to activity in this case:

 2              Name
 3              None.
 4        Effective this date, the following attorneys are no longer associated with
 5 this case and should not receive any further Notices of Electronic Filings

 6 relating to activity in this case (if the generic “U.S. Attorney CR” is still listed

 7 as active in this case in CM/ECF, please terminate this association):

 8              Name
 9              None.
10        Please feel free to call me if you have any questions about this notice.
11        DATED: April 23, 2024
12                                              Respectfully submitted,
13
                                                TARA K. MCGRATH
14                                              United States Attorney
15

16                                              s/ Carlos Arguello
17                                              CARLOS ARGUELLO
                                                Assistant United States Attorney
18                                              Attorneys for Plaintiff
19                                              United States of America

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